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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,
                      Plaintiff and                             Case No. 3:23-cv-00355-wmc
                      Counter Defendant,
       v.
TOWN OF LAC DU FLAMBEAU,
                      Defendant and
                      Counter Claimant,
       and
GORDON ANDERSON et al.,
                      Intervenor Defendants and
                      Intervenor Counter Claimants.



      EMERGENCY MOTION TO AMEND THE COURT’S SEPTEMBER 26, 2024
                     PRELIMINARY INJUNCTION



       The Intervenor Defendant and Counter Claimant Homeowners (the “Homeowners”), as

listed in ECF No. 91-1), and the Town of Lac du Flambeau (“Town”), hereby jointly (Homeowners

and Town together, “Movants”) move the Court on an emergency basis to Amend the Court’s

Preliminary Injunction, entered on September 26, 2024 (ECF No. 119). Despite the Court’s

Preliminary Injunction and Opinion and Order (ECF No. 118) granting in part the Homeowners’

Motion for Preliminary Injunction requiring Annie Sunn Lane, Center Sugarbush Lane, East Ross

Allen Lake Lane and Elsie Lake Lane (the “Roads”) at issue to be kept open, the Lac du Flambeau

Band of the Lake Superior Chippewa Indians (the “Tribe”) is again barricading the Roads, with an

announced imminent closure date of January 16, 2025, and the United States of America (the

“USA”), which is the ward of the Tribe and trustee of the lands under the Roads that are held in

restricted fee status, has not responded to the Homeowners’ request for assistance.
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       This Court’s Opinion and Order (ECF No. 118), states, in relevant part, that “[i]f the Tribe

chooses to disregard the court’s order, the Homeowners or Town should notify the court

immediately and seek any relief that they deem necessary.” (Id. at 17). The Court has the power

to amend the Preliminary Injunction entered in this case. “In modifying a preliminary injunction,

a district court is not bound by a strict standard of changed circumstances but is authorized to make

any changes in the injunction that are equitable in light of subsequent changes in the facts or the

law, or for any other good reason.” Movie Sys., Inc. v. MAD Minneapolis Audio Distribs., 717 F.2d

427, 430 (8th Cir. 1983); see also Rockwell Graphic Sys., Inc. v. DEV Indus. Inc., 91 F.3d 914,

920 (7th Cir. 1996) (noting a court may modify scope of an injunction in order to adapt to changed

circumstances); United States v. Swift & Co., 286 U.S. 106, 114 (1932) (“We are not doubtful of

the power of a court of equity to modify an injunction in adaptation to changed conditions....”)

       The Movants hereby respectfully provide such notification via this Motion and request that

the Court amend its Preliminary Injunction to require the USA to take action to prevent the erection

of any barricades, or other barriers or restrictions impeding the Homeowners’ access to their

properties over the Roads or impeding the Town’s access for maintenance, snow plowing and

provisions of emergency services and other Town functions, during the pendency of this

litigation, and to provide appropriate law enforcement with a directive to remove any barricades

or impediments placed on the four Roads. Direction to law enforcement to enforce an injunction

is appropriate in this case and authorized under federal law. See, e.g., McKusick v. City of

Melbourne, 96 F.3d 478, 486 (11th Cir. 1996) (upholding provision of injunction authorizing law

enforcement to enforce the court’s injunction). The proposed form of Amended Preliminary

Injunction, including the order to enforce to law enforcement, is filed herewith. If the Roads are




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again barricaded, all of the irreparable harm previously detailed by the Homeowners and Town

will again be immediately imposed on them.

       The grounds and bases for this Joint Motion are set forth below, and further are set forth in

the accompanying Declarations filed herewith, as well as the previously-filed Motion for

Preliminary Injunction (ECF No. 88), Briefs in Support of Motion for Preliminary Injunction (ECF

Nos. 89 & 107), and Declarations filed therewith (ECF Nos. 91, 93, 94, 95, 96, 98, 99, 101, 102,

103, 105, & 106). As further background and explanation for this Emergency Joint Motion, the

Homeowners and Town state as follows:

       1.      From the time of the Court’s Preliminary Injunction until now, the Roads have

been open without incident and without impediments placed on the Roads.

       2.      However, the Tribe publicly stated that, if the Town did not pay additional

Temporary Access Permit Fees that have accrued since September 12, 2024, by the deadline of

January 16, 2025, the Roads will be closed again (See Gaulke Declaration filed herewith, ¶ 10 &

Exhibit E.)

       3.      The Town has not paid the Tribe any further Temporary Access Permit Fees after

August 2024.

       4.      Between the evening of January 7, 2025 and the morning of January 8, 2025, the

Tribe placed large concrete blocks on the shoulder of each of the Roads, which are the exact type

of blocks that the Tribe used to attach metal-chain cables and locks to barricade the Roads in the

first several months of 2023. (See Gaulke Declaration filed herewith, ¶¶ 3-9 & Exhibits A-D.)

       5.      On January 8, 2025, counsel for the Homeowners emailed the USA’s attorneys

and asked what the USA intended to do to prevent the Road closures. No response has been

received as of this filing. (See Hubing Declaration filed herewith, Exhibit A.)




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       6.      When the Roads were barricaded by the Tribe in January 2023, the Homeowners

and their counsel repeatedly contacted the U.S. Marshals Service and the Vilas County Sheriff’s

Office and pleaded that the barricades be removed, all without success. At the time, law

enforcement agencies expressed concern that they lacked authority to remove the barricades.

       7.      The Homeowners and Town are fearful that the Roads will again be imminently

barricaded by the Tribe on January 16, 2025, and that the language in the Court’s Preliminary

Injunction does not provide sufficient authority for the U.S. Marshals Service or the Vilas

County Sheriff’s Office, to physically remove the barricades.

       8.      The barricades will again impose the immediate irreparable harm fully detailed in

the Declarations filed by the Homeowners supporting the Motion for Preliminary Injunction.

(ECF Nos. 91, 93, 94, 95, 96, 98, 99, 101, 102, 103, 105, & 106). Barricading the Roads, barring

and/or delaying emergency response services and requiring Homeowners to trek across frozen

lakes in freezing or sub-zero temperatures (and ice that will thaw out in spring) to come or go

from their residential properties, is dangerous and places the Homeowners in harm’s way.

       9.      The Homeowners and Town therefore respectfully request that the Court amend

its Preliminary Injunction providing that in the event any barriers, barricades, or obstructions of

any manner are placed in such a way as to restrict traffic on the Roads, the United States

Marshals Service and other federal law enforcement agencies, are empowered and directed to

expeditiously remove those barricades; and further providing that, in the absence of action by

federal law enforcement agencies within 24 hours, then State, County and Town government and

law enforcement agencies shall take any action needed to remove the barricades or obstructions.

       10.     The Homeowners and Town are filing a proposed Amended Preliminary

Injunction herewith for the Court’s convenience.




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     Dated this 14th day of January, 2025.

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     Dated this 14th day of January, 2025.

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